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Attorneys for Defendants Thane and Rebekah Syverson

                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IDAHO

 JACK CHRISTIANSEN and MARIE
 CHRISTIANSEN, husband and wife
                                                     CASE NO.
                Plaintiffs,
 V.                                                  DEFENDANTS' NOTICE OF
                                                     REMOVAL
 THANE SYVERSON and REBEKAH
 SYVERSON, husband and wife, and DOES
 1-10,

                Defendants.


       COME NOW the Defendants Thane Syverson and Rebekah Syverson (herein

"Syverson"), by and through their counsel of record Ramsden, Marfice, Ealy & Harris, LLP,

pursuant to U.S.C. § § 1332, 1441(a), and 1446 and Local Civil Rule 81.1, and hereby gives

notice of its removal of the above-styled matter from the District Court of the Second Judicial

District of the State of Idaho in and for the County of Clearwater to the United States District

Court for the District of Idaho, Northern Division. In support of removal, Syverson states as

follows:



DEFENDANTS' NOTICE OF REMOVAL- 1
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A.      Introduction

        1.      On or about August 28, 2019, Plaintiffs Jack Christiansen and Marie

Christiansen commenced a civil action against Syverson in the District Court of the Second

Judicial District of the State of Idaho in and for the County of Clearwater under Case No.

CV18-19-0246.

        2.      On September 5, 2019, a copy of Plaintiffs' Complaint and Demand for Jury

Trial and Summons were sent to Syversons' counsel ofrecord, via email.

        3.      On September 5, 2019 an Acknowledgment of Service was filed by Plaintiffs in

the District Court of the Second Judicial District of the State of Idaho in and for the County of

Clearwater under Case No. CVl 8-19-0246. No other process, pleadings, orders, or other papers

have been served on Syverson.

        4.      Pursuant to 28 U.S.C. § 1446 and Local Civil Rule 81.l(a)(l), the Complaint is

Attachment 1. The Acknowledgment of Service is Attachment 2. The state court docket is

Attachment 3. There are no answers in the state court action. There are no pending motions in

the state court action.

        5.      As explained in detail below, this Court has original jurisdiction of this action

based on diversity of citizenship and amount in controversy under 28 U.S.C. § 1332, and this

action is removable under 28 U.S.C. § 1441(a).

B.     This Removal is Timely.

        6.      This Notice of Removal is timely filed under 28 U.S.C. § 144(b) as the 30-day

period began running no earlier than September 5, 2019, the date on which Syverson was first


DEFENDANTS' NOTICE OF REMOVAL - 2
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served with a copy of the complaint and summons. See Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc. 526 U.S. 344, 354 (1999).

C.        Venue is Proper in this Court.

          7.       Venue properly lies in this United States District Court for the District ofldaho,

Northern Division under 28 U.S.C. § 139l(a)(2) and 28 U.S.C. § 95(a)(2), as this Division of

this District embraces the location of the Idaho state court where the state court action is

currently pending.

D.        Complete Diversity of Citizenship Exists.

          8.       This is an action between citizens of different states. An individual's citizenship

is based on his or her domicile. Luciano v. Chase Bank, No. CV-13-7896-GAF-RZX, 2014

U.S. Dist. LEXIS 1712, at *3 (C.D. Cal. Jan. 7, 2017). An individual's domicile is his/her

permanent home - where she resides with the intention to remain or to which she intends to

return.    Id.    A representative of an estate's citizenship is based on the citizenship of the.

decedent. 28 U.S.C. 1332(c)(2).

          9.       Plaintiffs are domiciled in Lenore, Idaho located within Clearwater County,

Idaho. See Attachment 1, ~ 1. As such, Plaintiffs are citizens of the State ofldaho.

          10.      Defendants are domiciled in Roseburg, Oregon. See Attachment 1, ~ 2. As such,

Defendants are citizens of the State of Oregon.

          11.      This is therefore an action between Idaho citizens and Oregon citizens.

E.        The Amount in Controversy Requirement is Satisfied.

          12.      In addressing the amount in controversy, Syverson does not concede the validity

of Plaintiffs' claims or attempt to predict what Plaintiff will recover.             The amount in


DEFENDANTS' NOTICE OF REMOVAL - 3
          Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 4 of 57



controversy is determined by the amount demanded, not what will ultimately be recovered. St.

Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289-290 (1938).

        13.      "[W]hen a complaint filed in state court alleges on its face an amount in

controversy sufficient to meet the federal jurisdictional threshold, such requirement is

presumptively satisfied unless it appears to a 'legal certainty' that the plaintiff cannot actual

recover that amount." Cornell v. Columbus McKinnon Corp., No. C-13-02188-SI, 2013 U.S.

Dist. LEXIS 100093, at *5 (N.D. Cal. Jul. 17, 2013).

        14.      Plaintiffs' Complaint and Demand for Jury Trial seeks recovery of 'damages in

an amount exceeding $10,000.00," See Attachment 1, ~ 67.

        15.      However, Plaintiffs sent multiple demand letters prior to commencing this

litigation.   Each demand letter contained a demand for payment exceeding this Court's

jurisdictional limit of $75,000.00.

F.      Notice

        16.      As required by 28 U.S.C. §1446(d), the written Notice or Removal is being

served on all adverse parties, and a copy of the same is being filed with the District Court of the

Second Judicial District of the State of Idaho in and for the County of Clearwater for this United

States District Court for the District of Idaho, Northern Division and proceed as an action

properly removed thereto.

II

II

II

II


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G.     Conclusion

       17.    For the reasons more fully set forth above, Defendants hereby give notice of the

removal of Christiansen v. Syverson, Clcanvater County Case No. CV] 8-19-0246 to the United

States District Com1 for the District ofldaho, Northern Division, pursuant to U.S.C. § § 1332,

144l(a), and 1446 and Local Civil Rule 81.1.

       DATED this   &      day of September, 2019.

                                           RAMSDEN, :MA.RllCE, EALY & HARRIS, LLP




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                               CERTIFICATE OF SERVICE
                                     IJ2'r·(~
       I hereby certit)' that on the Jt:i:2..__ day of September, 2019, I served a true and con-cct

copy of the foregoing by the method indicated below, and addressed to the following:

      Gregory M. George                                       US MAIL
      Macomber Law, PLLC                            _ _ Overnight Mail
      1900 Northwest Boulevard, Suite 110           - - Hand Deliver
      Coeur d'Alene, ID 83814                       - - Facsimile
      Attorney for Plaintiffi;                      ----1::::...._ Via email to:
                                                                   greg@macorn berlaw. corn

       P. Thomas Clark                                        US MAIL
      Clark & Feeney, LLP                           _ _Overnight Mail
      1229 Main Street, Suite 106                   --
                                                       Hand Deliver
      P.O. Box 285                                            Facsimile
      Lewiston, Idaho 83501-0285                       I...   Via email to:
      Attorney/or Plaintiffs                                  greg@macomberlaw.corn

                                                lG U';M ~ ~~ \
                                                Nicole Vigil




DEFENDANTS' NOTICE OF REMOVAL-6
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                                                                                 Electronically Filed
                                                                                 8/28/2019 3:49 PM
                                                                                 Second Judicial District, Clearwater County
                                                                                 Carrie Bird, Clerk of the Court
                                                                                 By: Barbie Deyo, Deputy Clerk




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Attorneys for Plaint{fjs                             Facsimile: 208-746-9 l 60
Jack and Marie Christiansen                          tclark@c larkandfccney.com


        IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT OF
       THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CLEARWATER

                                                           CV18-19-0246
 JACK CHRISTIANSEN and MARIE                      Case No.: - -- -- - - -
 CHRISTIANSEN, husband and wife,
                                                  COMPLAINT AND DEMAND FOR ,JURY
                 Plaintiffs,
                                                  TRIAL

                        V.
                                                  Fee Category: A.A.

 THANE SYVERSON and REBEKAH                      Fee: $221 .00
 SYVERSON, husband and wife, and DOES
 1-10,

                Defendants.


        COME NOW Plaintiffs JACK CHRISTIANSEN and MARIE CHRlSTJANSEN, husband
and wife, (collectively "Plaintiffs" or "Christianscns"), by and through their attorney, Gregory M.
George of the firm Macomber Law, PLLC, to hereby allege a Complaint as follows.
                         I.      PARTIES, JURISDICTION, AND VENUE
       1.      Plaintiffs arc owners of real property situated in Clearwater County, Idaho, said
property having a situs address of 323 Barley Drive, Lenore, ldaho 83 54 l (the "Property"). The
Property is twenty (20) acres.
       2.      Defendants THANE SYVERSON and Rebekah Syverson ("Defendants•· or
"Syversons") arc, on information and belief, residents of the State of Oregon.



COMPLAINT AND DEMAND FOR JURY TRIAL

                                    FitzMaurice, Gregory
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       3.      On information and belief, there are other persons who may be liable to Plaintiffs
for all or part of Plaintiffs' claims herein. The name of such persons, as well as others yet unknown,
are unknown and referenced above as DOES 1-10. This Complaint will be amended to include the
names of such unknown persons upon discovery.
       4.      This Court has subject matter jurisdiction pursuant to Idaho Code section 1-705.
        5.     This Court has personal jurisdiction over Defendants pursuant to subsections (a)
through (c) ofldaho Code section 5-514.
        6.     Venue is proper in the Second Judicial District, in and for the County of Clearwater,
pursuant to Idaho Code section 5-401(1) and/or Idaho Code section 5-404.
        7.     The amount in controversy exceeds $10,000.
                               II.    FACTUAL ALLEGATIONS
        8.     Plaintiffs incorporate all prior paragraphs herein, inclusive.
        9.     The Syversons owned the Property from approximately June 11, 2004 to 2008.
        10.    On or about July 2, 2004, Syversons obtained a permit from Clearwater County to
relocate an abandoned farmhouse located on the property of Earl Lawrence to the Property so the
Syversons could make efforts to repair and/or remodel the farmhouse to become their primary
residence.
        11.    A Clearwater County Idaho Residential Property Record dated February 12, 2001
for the house (while the house was still on Earl Lawrence's property) identified the house exterior
walls as being 100% covered by asbestos siding.
        12.    The Syversons acquired the abandoned farmhouse from Earl Lawrence and moved
the farmhouse to its current location on the Property.
        13.    Photographs obtained from the house-moving work show the asbestos siding on the
house as referenced in the February 12, 2001 Clearwater County Idaho Residential Property
Record. True and correct copies of said photographs are attached hereto as Exhibit "A" and
incorporated herein. The house was in very poor condition, with the siding and roofing in disrepair
and rot/structural damage on the northwest corner of the main floor bedrooms, as shown in the
photograph attached hereto as Exhibit "B."
        14.    A Clearwater County Tax Assessment Report dated July 27, 2004 for the house (by
that point located on the Syversons' Property) identified the house exterior walls as being 100%
covered by asbestos siding. This conclusion was verified by photographs of the house after it was



COMPLAINT AND DEMAND FOR JURY TRIAL                                                                  2
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moved to the Property. True and correct copies of said Clearwater County property records are
attached hereto as Exhibit "C."
        15.    During the Syversons' repair/remodel efforts on the house, they discovered
vermiculite insulation in the lower attic above the bathroom and laundry room. However, the
Syversons did not have said vermiculite abated.
        16.    In or around 2005, and while the Syversons owned the Property, the asbestos siding
was removed from the house by or with the knowledge and consent of the Syversons.
        17.    During the Syversons' repair/remodel efforts on the house on the Property, they
had a dump pit(s) dug on the Property in or around 2005 for the purpose of burying construction
remnants-including asbestos-contaminated construction remnants. Upon information and belief,
some of these remnants may also include lead paint.
        18.    The Syversons attempted to burn the construction remnants-including asbestos-
contaminated siding-in said dump pit(s) on the Property in or around 2005. These remnants,
however, did not burn, and the Syversons had knowledge at the time that these remnants did not
burn.
        19.    There is an airstrip that has historically been used by neighboring landowners that
runs partially through the Property. At the time the Syversons moved from the Property, there were
at least two area landowners who were regularly using said airstrip for taking off and landing
planes on the Property.
        20.    At the time the Syversons moved from the Property, no formalized agreement
existed for use, maintenance, or liability associated with said airstrip. The lack of such a formalized
agreement had created ongoing issues between the landowners in the area regarding the use and
maintenance of the airstrip.
        21.    In 2007, Bennett Industries, Inc., an Idaho corporation ("Bennett"), was attempting
to negotiate with neighboring landowners regarding a right to use the airstrip for its logging
activities as well as for the development of properties Bennett owned immediately southeast of the
Property.
        22.    These negotiations between Bennett and neighboring owners failed. On or about
March 31, 2008, legal counsel for Bennett sent a letter to neighboring owners threatening legal
action regarding the right to use the airstrip for vehicle access to the Bennett property.




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       23.     Bennett filed suit against various neighboring owners, including Syversons,
regarding the airstrip. Bennett filed this lawsuit on August 19, 2008 in Idaho state court as
Clearwater County Case No. CV-2008-306. This case ended in November 2010.
       24.     Defendant Thane Syverson is an employee of the federal Bureau of Land
Management. On information and belief, his employment is as a District Engineer.
       25.     Until 2008, Defendant Thane Syverson was an employee of the United States Forest
Service working out of the Forest Service office in Orofino, Idaho. On information and belief, his
Forest Service employment was in the area of civil engineering, consistent with his education and
background.
       26.     In 2007 or 2008, Syversons applied for the United States federal government's
relocation assistance program in order for Thane Syverson to change his federal duty station from
Orofino, Idaho.
       27.     The Syversons' relocation was handled through Capital Relocation Services, LLC
("Capital").
       28.     In the relocation process, the Syversons conveyed the Property to Capital, which in
turn would attempt to find a buyer for the Property.
       29.     As part of the relocation process, the Syversons completed and submitted to Capital
a "Homeowner Disclosure Statement" in April 2008. A true and correct copy of said Homeowner
Disclosure Statement is attached hereto as Exhibit "D." The Syversons signed the Homeowner
Disclosure Statement on or about April 3, 2008. However, on page 1 the Homeowner Disclosure
Statement is dated April 8, 2008.
       30.     Said Homeowner Disclosure Statement prompted the Syversons to make various
representations about the Property. The Homeowner Disclosure Statement expressly provides on
page 1 that "[i]n connection with my/our relocation, I/we make the following disclosures to the
best of my/our knowledge regarding my/our property with the knowledge that even though this is
not a warranty, prospective buyers may rely on this information in deciding whether or on what
terms to purchase the property. I/we further understand that an offer to purchase will not be made
until this disclosure is completed." (Emphasis added). Based upon this language on page 1 of the
Homeowner Disclosure Statement, Jack Christiansen reasonably believed the Homeowner
Disclosure Statement to be accurate and reliable, and relied upon the same in purchasing the
Property.



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       31.     Paragraph ll(a) of the Homeowner Disclosure Statement asked whether the
Property contained or had ever contained any toxic substances, UFFI, asbestos, or lead paint.
Syversons answered "No" to this query, despite the previously documented existence of asbestos
in the house on the Property and despite the Syversons having previously had asbestos siding
removed from the house. At the time they answered "No" on paragraph ll(a) of the Homeowner
Disclosure Statement, Syversons therefore knew said answer was false.
       32.     Paragraph 1 l(n) of the Homeowner Disclosure Statement asked whether the
Property was located next to or in close proximity of a dump, junk yard, or toxic disposal site.
Syversons answered "No" to this query, despite having had the aforementioned dump pit(s) dug
to dispose of asbestos-contaminated construction remnants and siding removed from the home.
Syversons thus knew their answer of "No" on paragraph 1 l(n) of the Homeowner Disclosure
Statement was false at the time they completed said Homeowner Disclosure Statement.
       33.     Paragraph 3(b) of the Homeowner Disclosure Statement asked whether the roof had
ever leaked during Syversons' ownership of the Property. Syversons answered "No." However,
pictures of the house from the time period in which it was being relocated show the roof was in
extremely poor condition with many of the original shingles missing or needing replacement.
Christiansens obtained these pictures in 2018 and did not know of their existence when purchasing
the Property. Further, an engineering inspection of the house by TD&H Engineering on or about
June 6, 2008 concluded that several places on the ceiling of the main floor appeared to show water
damage. Further, issues with the venting of the roofled to significant icicle formation every winter.
       34.     Paragraph ll(b) of the Homeowner Disclosure Statement asked whether the
Property then contained or had ever contained any underground tanks and, if so, the location of
such tanks. Syversons answered "No" to this query. However, at the time there was both a 2,000-
gallon cistern and a septic tank underground on the Property, both of which Syversons had installed
and therefore knew about at the time they falsely answered paragraph 11 (b) of the Homeowner
Disclosure Statement.
       35.     Paragraph 1 l(f) of the Homeowner Disclosure Statement asked whether there were
any existing or threatened legal actions affecting the Property. Syversons falsely answered "No"
to this query, despite knowing of the ongoing easement dispute and imminent easement lawsuit by
Bennett Industries, Inc.




COMPLAINT AND DEMAND FOR JURY TRIAL                                                                 5
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       36.     Paragraph l0(a) of the Homeowner Disclosure Statement asked whether there was
any unusual amount of noise from any source (i.e., airplanes, traffic, schools, or business) that
affected the Property. Syversons falsely answered "No" to this query despite knowing that the
airstrip in their front yard was being actively used by neighbors.
       37.     In large part due to the ongoing dispute and lawsuit with Bennett Industries, Inc.
over the airstrip easement on the Property, Capital was unable to sell the Property until 2010, when
Plaintiff Jack Christiansen purchased the Property.
       38.     From the time that Syversons conveyed the Property to Capital until Capital
conveyed the Property to Jack Christiansen, Capital reduced the list price of the property multiple
times due to the easement dispute preventing the Property from being sold.
       39.     Jack Christiansen bought the Property in 2010 for the purchase price of
$225,000.00. At the time Jack Christiansen bought the Property, he had no knowledge of any
hazardous materials on the Property, of the existence of the dump pit created by the Syversons for
construction remnants and asbestos siding, or of various other issues with the Property to which
the Syversons had answered "No" on their Homeowner Disclosure Statement. Jack Christiansen
relied upon the Syversons' representations in the Homeowner Disclosure Statement in deciding to
purchase the Property. Had the Syversons' Homeowner Disclosure Statement been a truthful
representation of actual conditions of the house and Property, Jack Christiansen would not have
purchased the Property given the presence of hazardous materials in the house, the dump pit dug
on the property, and the other issues with the Property described herein.
       40.     When Jack Christiansen bought the Property, he did so after having reviewed the
Syversons' Homeowner Disclosure Statement. Jack Christiansen reviewed and placed his initials
on the pages of the Homeowner Disclosure Statement on or about March 5, 2010. Having reviewed
and initialed the Homeowner Disclosure Statement before closing on the Property, Jack
Christiansen relied upon the Syversons' statements in the Homeowner Disclosure Statement in
ultimately closing the purchase of the Property.
       41.     Jack Christiansen has resided in the house on the Property since April 2010. Marie
Christiansen has resided in said house since March 2012.
       42.     In September 2017, the Christiansens began a series of necessary repairs to the
house on the Property. These repairs began at the edge of the roofline, where damage had occurred




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due to significant icicle formation on the eaves in the winter. The Christiansens suspected
insufficient attic ventilation was causing "hot roof' conditions.
        43.    Although the soffit panels had ventilation holes, when the Christiansens removed
the panels they found there were no openings between the rafters to properly vent the attic.
       44.     When the shingles at the edge of the roof were investigated for damage, the
Christiansens found large gaps between the plywood sheathing and insufficient tar paper covering
the roof. Without knowing about any of the vermiculite in the attic, the Christiansens drilled
openings into the attic space from the outside to install attic ventilation covers.
        45.    When the Christiansens entered the attic space for the first time after finishing this
job on the east side of the house, they found they had drilled into a space filled with vermiculite.
At that point Christiansens also found an improperly installed open bathroom vent duct connecting
the attic to the bathroom.
       46.     After discovering the vermiculite in the attic in September 2017, Christiansens took
samples of the vermiculite for testing at Mountain Laboratories in Spokane Valley, Washington.
The vermiculite samples tested positive for asbestos. True and correct copies of Mountain
Laboratories' results are attached hereto as Exhibit "E."
       47.     Since September 2017, Christiansens have had vermiculite samples tested for
asbestos. Specifically, since September 2017 Christiansens have had four (4) vermiculite samples
taken in the attic-all from different locations. The first three (3) samples were taken from three
(3) different locations in the attic by Jack Christiansen in September 2017, per specific instructions
from Mountain Laboratories in Spokane. All three (3) of said samples tested positive for asbestos.
       48.     Syversons have claimed they had the vermiculite in the attic tested for asbestos
during their ownership of the Property and that the vermiculite tested negative. To date, however,
Syversons have failed to provide any testing results or even the name of the laboratory that
purportedly conducted said testing.
       49.     On or about November 2, 2017, Christiansens had a fourth sample of vermiculite
taken from a different location in the attic by a building inspector from IRS Environmental. That
sample also tested positive for the presence of asbestos.
       50.     During their testing efforts, both Christiansens and the building inspector from IRS
Environmental also submitted samples of insulation sheets discovered in the attic for testing. Both
sampling efforts returned results indicating a very high presence of asbestos in the insulation



COMPLAINT AND DEMAND FOR JURY TRIAL                                                                  7
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sheets. True and correct copies of these test results are attached hereto as Exhibit "F." To date,
the Syversons have not responded to or explained these findings.
        51.     After discovering the vermiculite in the attic in September 2017, Christiansens
discussed the matter with their neighbor Gary Ogden (now deceased). At that point, Mr. Ogden
told the Christiansens that, at Thane Syverson's request, he had dug a pit on the Property for the
purpose of burying asbestos-contaminated construction remnants and asbestos siding that the
Syversons removed from the house after moving the house to the Property. Before this point, the
Christiansens had been unaware of any asbestos siding on the house or on the Property.
        52.     After learning of the presence of asbestos siding materials and the Syversons'
efforts to transport those materials to the dump pit(s) they had dug on the Property, the
Christiansens located small broken pieces of the original siding around the yard and in the
approximate location of the pit Gary Ogden had informed them about. True and correct
photographs of said siding pieces are attached hereto as Exhibit "G." Samples of these siding
remnants tested positive for the presence of asbestos at Mountain Laboratories in Spokane Valley,
Washington. True and correct copies of these test results are attached hereto as Exhibit "H."
        53.     On or about May 8, 2019, Christiansens excavated a portion one of said dump pit(s)
on the Property and discovered numerous construction remnants. These construction remnants
were located in the area of the Property where Gary Ogden had told the Christiansen's that the
asbestos materials had been buried. These construction remnants discovered on or around May 8,
2019 included without limitation 1950s-era vintage floor tiling, mastic, blue board foam insulation,
siding chips, window trim, and pieces of trim boards. A true and correct photograph of said
excavation is attached hereto as Exhibit "I." Before excavating said portion of the pit on or about
May 8, 2019, Christiansens had been unaware of these construction remnants.
        54.     Syversons were aware of the presence of asbestos-contaminated materials in and
around the pit(s) they had dug on the Property, and had made unsuccessful attempts to burn such
materials. Despite having such knowledge, however, in paragraph 1l(n) of the Homeowner
Disclosure Statement the Syversons falsely denied that the Property was located next to or in close
proximity of a dump, junk yard, or toxic disposal site.
        55.     Christiansens have never placed any materials in this pit(s) and did not know about
the pit's existence until the fall of 2017.




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       56.     As a direct result of Syversons' intentional misrepresentations about the Property
on the Homeowner Disclosure Statement, Christiansens have incurred damages in an amount
exceeding $10,000.00-said damages including without limitation laboratory testing fees,
hazardous material removal costs, medical testing costs, and devaluation of the Property directly
resulting from the existing issues that were undisclosed on Syversons' Homeowner Disclosure
Statement.
       57.     Since shortly after discovering beginning in September 2017 the undisclosed issues
with the Property described herein, the Christiansens have made significant efforts to inform the
Syversons about said issues in an effort to resolve these matters. However, Defendants have
refused to acknowledge any responsibility or to or offer any compensation for the damages caused
by their misrepresentations described herein, thus requiring resolution through the Court system.
                        III.    FIRST CAUSE OF ACTION: FRAUD
       58.     Plaintiffs incorporate all prior paragraphs herein, inclusive.
       59.     Defendants made representations of fact on the Homeowner Disclosure Statement
about the Property-including without limitation that: (a) the Property had never contained any
toxic substances, UFFI, asbestos, or lead paint; (b) that the Property was not next to or in close
proximity of a dump, junk yard, or toxic disposal site; (c) the roof had never leaked during their
ownership of the Property; (d) the Property did not contain and never had contained any
underground tanks; (e) there were no existing or threatened legal actions affecting the Property;
and (f) there was not any unusual amount of noise from any source that affected the Property.
       60.     The representations of fact identified in paragraph 59 above were all false at the
time they were made by Defendants.
       61.     The representations of fact identified in paragraph 59 above were material to Jack
Christiansen's decision to purchase the Property. Had Jack Christiansen known said
representations of fact were false, he would not have purchased the Property.
       62.     At the time they made the representations of fact identified in paragraph 59 above,
Syversons knew said representations of fact were false.
       63.     The Homeowner Disclosure Statement completed and signed by Defendants stated
in part that "even though this is not a warranty, prospective buyers may rely on this information in
deciding whether or on what terms to purchase the property." Therefore, Defendants intended that




COMPLAINT AND DEMAND FOR JURY TRIAL                                                                 9
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their representations in the Homeowner Disclosure Statement be acted upon by Plaintiffs as
reasonably contemplated by the Homeowner Disclosure Statement.
       64.     At the time Jack Christiansen purchased the Property, he did not know the falsity
of any of Defendants' representations in the Homeowner Disclosure Statement. Further, Plaintiffs
did not know the falsity of any of the representations in the Homeowner Disclosure Statement until
September 201 7.
       65.     Jack Christiansen relied upon Defendants' representations in the Homeowner
Disclosure Statement in deciding to purchase the Property in 2010 and ultimately closing said
purchase.
       66.     Jack Christiansen's reliance upon the Defendants' representations in the
Homeowner Disclosure Statement was justifiable for reasons including (without limitation) that at
the time he purchased the Property he was unaware of any facts contradicting what Defendants
had represented about the Property in the Homeowner Disclosure Statement and because the
Homeowner Disclosure Statement expressly stated prospective buyers could rely on the
representations therein.
       67.     As a direct and proximate result of Defendants' intentional misrepresentations
about the Property complained of herein, Plaintiffs have suffered damages in an amount exceeding
$10,000.00.
        IV.     SECOND CAUSE OF ACTION: ATTORNEY'S FEES AND COSTS
       68.     Plaintiffs incorporate all prior paragraphs herein, inclusive.
       69.     Because of Defendants' conduct complained of herein, Plaintiffs have had to
acquire the services of an attorney and are entitled to an award from Defendants of their attorney's
fees and costs in an amount to be determined by the Court if this matter is contested as provided
by Idaho law, including without limitation Idaho Code sections 12-101, 12-120, and 12-121, as
applicable.
       70.     Should this matter result in default, Plaintiffs should be awarded Twenty Thousand
Dollars and Zero Cents ($20,000.00) to represent a reasonable amount expended in attorney fees
and costs to determine the nature of the issues arising from Defendants' activities and to gain such
default related to Defendants' unlawful conduct as complained of herein.
                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs pray for relief against Defendants as follows:



COMPLAINT AND DEMAND FOR JURY TRIAL                                                               10
          Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 18 of 57




          (1)    For judgment on Plaintiffs' First Cause of Action (Fraud), in an amount exceeding
$10,000.00 to be proven at trial;
          (2)    For judgment on Plaintiffs' Second Cause of Action (Attorney's Fees and Costs)
awarding Plaintiffs' attorney's fees and costs as provided by Idaho law, including without
limitation Idaho Code sections 12-101, 12-120, and 12-121, as applicable; and
          (3)    For such other and further relief as the Court may deem just and equitable.
                                    DEMAND FOR JURY TRIAL
          Plaintiffs demand a trial by jury of no less than twelve (12) jurors on all issues so triable.


Dated this 28th day of August, 2019.


MACOMBER LAW, PLLC                                       CLARK & FEENEY, LLP

Isl Gregory M George                                     Isl P. Thomas Clark
By: Gregory M. George, ISB No. 9937                      By: P. Thomas Clark, ISB No. 1329
Attorney for Plaintiffs                                  Attorney for Plaintiffs



          Pursuant to Idaho Code section 9-1406, I declare under penalty of perjury pursuant to the
law of the State of Idaho that the foregoing is true and correct to the best of my knowledge and
belief.


Dated this 28th day of August, 2019.


Isl Jack Christiansen                            Isl Marie Christiansen
Jack Christiansen                                Marie Christiansen




COMPLAINT AND DEMAND FOR JURY TRIAL                                                                    11
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                      EXIIIBIT "A"
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                      EXHIBIT "B"
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                      EXHIBIT "C"
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                     EXHIBIT "D"
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Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 31 of 57




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                     EXHIBIT "E"
             Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 33 of 57




9922 East Montgomery Suite 1.3                                                                                                 IM.Al'l@ CTJOt; IOIS90.0
Spokane Valley, WA 99206
(509) 922·136S o Fax (509) 922-1380




                                                                                                                          September 26, 2017



           Jack Christiansen                                                                                      Project Name: Asbestos Test
           P.O.Box116
           Absabka, lD 83520


           Dear M1·. Christiansen,

           The enclosed report details results for the analysis of the bulk sample(s) submitted to Mountain
           Laboratories on September 26, 2017. Sample analysis was perfonned to dete11nine asbestos type and
           content using Polarized Light Microscopy, supplemented by Dispersion Staining (PLM/DS).

           This repo1t includes a summary of the analytical results and chain of custody. Analytical results are only
           reflective of the samples, which were tested and presented in this report. Mountain Laboratories limits
           warranty to proper analysis methods and takes no responsibility for sample procurement.

           It has been our pleasure providing you with these analytical services. If you have any questions
           regarding this rep0!1, please do not hesitate to call us at (509) 922 . . 1365.


           Sincerely,

           ~ditl))Ytfum-4.
                      '--)
           Heidi L. McCarthy
           Laboratory Manager
           Mountain Laboratories
           Mountain Laboratories NW, Inc.


           Enclosure: 2801.39060.39065H




                                                                Polarized Light Microscopy, NVLAP Accrcuitntion




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       Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 34 of 57


                                                  MOUNTJUN LAUORATORIES
                                            BULIK SAMPLE ANALYSIS FOR ASBESTOS


    Jack Christiansen                                                                                                                              Project Name: Asbestos Test
    P.O.Box 116
    Ahsabka, ID 83520


    Test Method: EPA.:000/R•93/l 16: Interim Method for tho Dcterminntlon of Asbestos in Bulk Buildion Materinls.                                                                     Customer#: 2801

       Laboratory No.                                                  817-39060                                          817-39061                                          B17•39062
       Sample ID No.                                                        I                                                      2                                             3
                                                                      Vermiculite                                        Vermiculite                                        Vermiculite
       Sample Description
                                                                       Insulation                                         Insulation                                         Insulation
       Sample Treatment                                                 Teased                                                Teased                                             Teased
       Homogeneous                                                            Yes                                                Yes                                                 Yes
       Layered                                                                No                                                  No                                                 No
       Fibrous                                                                Yes                                                Yes                                                 Yes
       Sample Color                                                          Gold                                               Gold                                                 Gold
       Asbestos Present                                                       Yes                                                Yes                                                 Yes
       Asbestos Type and                                  Actinolite <1%                                      Actinolite <1%                                     Actinolite <1%                  -
       Percentage
       I. Chrysotile
       2. Amosite
       3. Crocidolite
       4. Other
       Total % Asbestos                                                      <!%                                                <1%                                                  <1%
                                                          Wood<!%                                            Wood<!%                                             Wood<!%
       Other Fibrous Material
                                                          CeUulose <I%                                       Cellulose <1%                                       Cellulose <1%
       In Sample                                                                                                                                                 Mineral Wool 3%
                                                          Aggregate <I%                                      Vermiculite 97%                                     Aggregate <1%
      Non~Fibrous Material:
                                                          Vermiculite 96%                                                                                        Vermiculite 94%
    Date Analyzed: September 26, 20l 7                                                                                                                          Analy;:ed By: Hetdl !.. McCaru1y
                                                                                                                                                                                           '




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    Labon1•ri•• NW. Inc. 91)11 li. Mo01norncry Suite #13, S!'(lk>nc 11'.ubinston 99200 (509) 922-136$ • Fax (S09) 922-llSO. l'LM hU betn lmown «> min nb,1101 in , 11'1\llll P"«"'-'ll• of
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  Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 35 of 57



                                               MOUNTAIN LADORATORIES
                                          BULK SAMPLE ANALYSIS FOR ASBESTOS



Jack Christiansen                                                                                                                                Project Name: Asbestos Test
P.O.Box 116
Ahsahka, :m 83520



Test Melhod: llPA-600/R-93/116: Interim Method for.the Determination of Asbestos in Bulk Bui"Id"mg Matcrlat s.                                                                      Customer#: 2801
   Laboratory No.                                                   B17-39063                                           817-39064                                           B17-39065
   Sample ID No.                                                             4                                                   5                                                  6
   Sample Description                                       Ceiling/Siding Tile                                        Ceiling Tile                                        Ceiling Tile
   Sample Treatment                                                     Teased                                      Teased/Heated                                       Teased/Heated
   Homogeneous                                                             Yes                                                 No                                                  No
   Layered                                                                  No                                                 Yes                                                 Yes
   Fibrous                                                                 Yes                                                 Yes                                                 Yes
   Sample Color                                                      Off White                                      Tan/Off White                                       Tan/Off White
   Asbestos Present                                                        Yes                                                  No                                                 No
   Asbestos Type and                                   Chrysotile 65-70%                                   N.D.                                                N.D.
   Percentage
   I. Chrysotile
   2. Amosite
 · 3. Crocidolite
   4. Other
   Total% Asbestos                                                     65-70%                                                None                                                  None
   Other Fibrous Material                                                                                  Wood99%                                             Wood99%
   In Samole
                                                       Binder/Filler 30-35%                                Paint<!%                                            Paint <1%
   Non-Fibrous Material:
                                                                                                           Other 100%                                          Other 100%
Date Annlyzed: September 26, 2017                                                                                                                             Analyzed By: Heidi L. McCunhy


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         25-Sep-17

        Sample

        (··i         freezer box 1          Vermiculite? !n;ulation   west side attic; north of bathroom fan
         .\ 2        freezer box 2          Vermiculite? insulation   west side attic; north of bathroom fan
         /   3       freezer box 3          Vermiculite? Insulation   east side attic; above freezer
             4       construction remnant   ceiling/siding tile       west side of attic, laying on top of vermiculite
             s       construction remnant   ceiling tile?             attic; laying on top of original roof (under new)
             6       ceiling tlie           celotex ceiling tile      from office



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                     EXHIBIT "F"
                    Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 39 of 57

                                           WASHINGTON-OHEGON;:IDAHO-MONTANA
                                           P.O. nox 15216 • SPOl(i\N[ VALLEY, WA 992Hi•5216
                                           (50l~) 027- 7B07 FAX (509) 928<J033


                                               ASBESTOS*LEAD
                                                 ABATEMENT
                                           SELECTIVE DEMOLITION
    CO\JT.   nrn. Ml. IHS[l\,WHJ:l:ll':\
                   November 9, 2() 17

                  Jack & Marie Christiansen
                  323 Barley Dr.
                  Lenore, ID 83541

                   VIA E-Mail:         n®rsgn Uliilhotmµi I.com

                   RE:       Limited inspection at the Christiansen residence located at 323 Barley Dr. Lenore, ID

                  Dear Jack & Marie,

                  IRS Environmental of WA, Inc. has completed a limited asbestos inspection prior Lo renovatilm. The limited
                  inspection 1hr asbestos containing materials was completed November 2, 2017 at your request. 111e on-site visit was
                  conducted by Wendy Nixon, a certified AI-IERA Building Inspector under40 CFR, Part 763, Subpait E, Appendix C
                  (Certitication No. BIR-16-031, Expiration date 12/08/2017). At your request, on(v the smpect materials that would
                  be impl/1.:ted hy renovaliom thro11gho111 the residence were tested.

                  The following snspecl materials have been tested, and proved non-asbeslOs by the inspector:
                      • Tar layer, black - typical between subfloor & substmte throughout laundty room & kitchen
                      • Vinyl lloor tile w/mustic, tan/brt)Wnfwhitetyellow/green/black - debris throughout attic mixed with
                           insulation
                      • Cloth wire covering, black -- typical of original wiring throughout attic
                      • Wallpaper layers, red/green/silver/tan/orange/brown/clear•- debris throughout unic mixed with insulation
                      • Fiberboard panel, brown/off white-typical of walls throughout 2"d lloor bedrooms & main floor office
                      • Barrier paper, beige - typical between framing & exterior walls where found
                      • Tar paper, black/brown •- typical of original roofing paper
                      • Duct dust, brown ··· typical in bathroom ceiling vent duct
                      • Ceiling paper layers. beige/brown/off white/green •·· 1r11ical behind fiberboard ceiling panels where found

                  Tllefollowi11g suspect materials /Jm•e bee11 tested, 111ul prove,! to co111al11 (IShestos
                         •   Vermiculite insulation. gold .... typical throughout side attic spaces and intermixed with rock wool insulation
                             throughout center bay of attic - Trace, ap111'ox. 675 SF
                         •   Millbonrd, light gray - typical throughout side attics intermixed with vermiculite insulation•··-·
                             75-80%, square footage included in above total


                  At the request of the client. our inspection was limited to exposed building materials that are expected to be
                  disturbed during the upcoming renovation. Anyone that is provided this report should be warned that it covers (or is
                  limited to) on~~• the specific materials tested. Other materials mny be pn~sent in the building behind walls or above
                  ceilings that contain asbestos.

                  Plense find attached a detailed survey report and laboratory analysis. I appreciate the opportunity to be ofservict:;
                  please don't hesitate to call if you have any questions regarding this report.

                  Respectju/(11,




                                                                                                                   .......   --.........   ·-------

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        Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 40 of 57



   ..          ··•·····.~'i'·!·        {
 ffu4ntti1n khoratories
9Q22 Eusl Montgomtry Suite 1J
Spokilllll Vnllcr. WA 99206
(509) 922-1365 • Fax (50'l) 922-1380




                                                                                                           November 3, 2017



          IRS Environmental                                                                   ProJcct: Christiansen Residence
          Wendy Nixon                                                                                         Project#: 1991 l
          PO Box 15216
          Spokane Valley, WA 99215-5216


          Dear Ms. Nixon,

          The enclosed report details results for the analysis of the bulk smnple(s) submitted to Mountain
          Laboratories on November 3, 2017. Sample analysis was performed to determine asbestos type and
          content using Polarized Light Microscopy. supplemented by Dispersion Staining (PLM/DS).

          This report includes a summary of the analytical results and chain of custody. Analytical results are only
          reflective of the samples, which were 1este<l and presented in this report. Mountain Lobomtories limits
          warranty to proper analysis methods and takes no responsibility for sample procurement.

          It has been our pleasure providing you with these analytical services.                   If you have any questions
          regarding this repo1t, please do not hesitate to call us at (509) 922-1365.


          Sincei-ely.
         4\lidli]Yf~
          Heidi L. McCarthy
          Laboratory Manager
          Mountain Laboratories
          Mountain Laboratories NW. Inc.


          Enclosure: IOI 8.43111.43120




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    Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 41 of 57



                                                      MOUNTAIN LABORATORIES
                                                 BULK SAMPLE ANALYSIS FOR ASBESTOS


     IRS Environmcnfal                                                                                                                                     Proj<ict: Christlnnscn Residence
     Wendy Nixon                                                                                                                                                                             Project#: 19911
     PO Box 15216
    Spoknnc Valley, WA 9!)215-521(1

    ·res! Method: EPA-600/TUJJ/116; ln!Crlm Mctl_1_od!l;!:,j)!:U.?c1crminmion of t\shs'SIClS in llulk l111ildin~ Matcrinl~.                                                                          Customer/I: I018

        Laboratory No.                                                        B17-431l4                                               817-43115                                              B17-43l72
        Sample ID No.                                                           19911-04                                                19911-05                                             19911-05-A
                                                                                                                                                                                        Sub Sample of
        Sample Description                                                     Millboard                                       Wallpaper Layers                                            19911-05
                                                                                                                                                                                       Grav Paper Layer
       Sample Treatment                                                           Teased                                          Teased/Heated                                             Teased
        Homogeneous                                                                  Yes                                                      No                                                     Yes
        Layered                                                                       No                                                     Yes                                                      No
        Fibrous                                                                      Yes                                          Yes                                                                Yes

       Sample Color                                                           Light Gray
                                                                                                                          Red/Green/Silver/Tan                                                      Gray
                                                                                                                          Orange/Brown/Clear
       Asbestos Present                                                              Yes       No                                                                                                     No
        Asbestos Type and                                      Chrysotile 75-8CJii.~ Wallpaper Layers N.I).                                                                     N.D.
        Percentage
        I. Chrysotile                                                                                                   Clear Mastic Layers
       2. Amosite                                                                                                      N.D.
       3. Crocidolite
       4. Other
       Total % Asbestos                                                          7.5-80%                                                   None                                                    None
                                  -···
                                                                                                                        Wallpaper Layers:                                       Cellulose 64%
       Other Fibrous Material                                                                                           Cellulose 94%                                           Synthetic 20%
       In Sample                                                                                                                                                                Hair5%
                                                                                                                                                                                Wood <1%
                                                               Binder/Filler 20--25<1/o                                 Wallpaper Layers:                                       Binder/Filler 10%
                                                                                                                       Other<!%
                                                                                                                        Binder/Filler 5%
       Non-Fibrous Material:
                                                                                                                       Clear Maqtic Layers:
    ._,___                                                                                                             Other 100%
                                         -.v
     Date Anulyztd: November l. 2017                                                                                                                                                      l\nnlyt"'1 By l.1sn M,iade


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                                                    MOUNTAIN LABORATORIES
                                               BULK SAMPLE ANALYSIS FOR ASBESTOS


 IRS Envirorunenhll                                                                                                                                            Project: Christiansen Residence
 Wendy Nixon                                                                                                                                                                                       Pro.I ect #: 19911
 PO Box 15216
 Spokane Valley, WA 99215-5216


'l',is1 Me1hod·~~
               lll'A-6()(l/R-9'l/l I6· lmcrim Mu1hod lor lhu De1crm111a1ion of Asl><:~tos iu Bulk Building
                                                                                                       ...,, Mnterials.                                                                                    Cus10111cr#: 1018

    Laboratory No.                                                            817-43116                                                 1317-43117                                                 B17-43118
    Sample lD No.                                                               19911-06                                                  19911-07                                                   19911-08

    Sample Description                                           Vermiculite Insulation                                           Fiberboard Panel                                               Barrier Paper
                                                                                                                                  Teased/Crushed
    Sample Treatment                                                              Teased                                                                                                               Teased
                                                                                                                                     Dissolved
    Homogeneous                                                                      Yes                                                No                                                                 Yes
    Layered                                                                           No                                                          Yes
                                                                                                                                                                                 I                          No
    Fibrous                                                                          Yes                                                          Yes                                                      Yes
    Sample Color                                                                    Gold                                         Brown/Off White                                                         Beige
    Asbestos Present                                                                 Yes
    Asbestos Type a11d                                         Actinolite Trace                                           --~
                                                                                                                          N.D.
                                                                                                                                                  No
                                                                                                                                                                                     N.O.
                                                                                                                                                                                                            No
                                                                                                                                                                                                                         -
    Percentage
    I. C!uysotile
   2. Amosite
    3. Crocidolite
   4. Other
   Total% Asbestos                                                                 Trace                                                      None                                                       None
                                                              Wood <1%                                                    Wmxf94%                                                   Cellulose 98%
   Other Fibrous Material                                     Mineral Wool <1%
   In Sample                                                  Cellulose <1%
                                                              Hair<!%
                                                              Vermiculite 92%                                             Binder/Filler 5%                                           Binder/Filler 2%
                                                              Aggregate <I%                                               Paint <1%
   Non-Fibrous Material:
                                                              Other<!%                                                    Other 100%
                                                              Bug Parts <1%                                                                  ..
                                                   -~                                                                  ~-=--
 Dal~ Analy;.ed· November 3. 201 ·;                                                                                                                                                            Analyzed Uy: L,su Mende



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l..lh..)tat.l;!fi« J\W. ltu:•. Wl.! 1; Mon1,i;ott~1~ Sm1~ :113. S~l-t,M W,l!ihuit:ion 111J;!:tl(1 !~I'll 1>::!"?•I \ft,,'; - fa, l:'itl1J) 1J:?:.?-1Jli!I t1l.M h::rs l~irtl ~Tm\Hl 10 nm ,ubcslMt i11 u rn1:.ill 1k!rt:<11hl!JV of
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                     EXHIBIT "G"
Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 44 of 57
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                     EXHIBIT "H"
                   Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 47 of 57




9922 t:ast. J\lontgotnc.T~l Suih.! 13                                                                          !',\l./'IE1 Vi.BCODF. 10189()-0
Spok:1nc Valley, WA 99206
(509) 922-1365 • f-a~ (509) 922-1380




                                                                                                            February 27, 2018



            Jack & Marie Christiansen                                             Project Name: Sam1>le 3-Siding Shingles
            P.O. Box ll6
            Ahsahka, ID 83520


            Dear Mr. & Mrs. Christiansen,

            The enclosed report details results for tl1c analysis of the bulk sample(s) submitted to Mountain
            Laboratories on February 27, 2018. Sample analysis was perfonncd to detcnnine asbestos type and
            content using Polarized Light Microscopy, supplemented by Dispersion Staining (PLM/DS).

            This report includes a summary of the analytical results and chain of custody. Analytical resuhs arc only
            reflective of the samples, which were tested and presented in lliis report. Mountain Laboratories limits
            warranty to proper analysis methods and takes no responsibility for sample procurement.

            It has been our pleasure proYiding you witl1 these analytical services.                If :you !Jaye any questions
            regarding this report. please do not hesitate to call us at (509) 922.1365.


            Sincerely.




            Heidi L. McCartliy
            Laborator:,· Manager
            Mountain Laboratories
            Mountain Laboratories NW, Inc.


            Enclosure: 2801.7018.70019H




                                               Pofori:zcd Light Xlicrn~cnp}'i NVLAP Acc~ditation
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                                             MOUNTAIN LABORATORIES
                                        BULK SAMPLE ANALYSIS FOR ASBESTOS



Jack & Marie Christiansen                                                                                             P1·ojcct Name: Sam1>lc 3-Siding Shingles
P.0.Box116
Ahsahka, ID 83520

Test Method: EPA•600/R-93/l I6: Interim M~>thod for tlu: Detcnninahon of A~bestos in Bulk Bmldma Mat~-rrnls.                                                                     Customer 1/: 2801

   Laboratory No.                                                  B18-7018                                           B18-7019
   Sample ID No.                                                            t                                                 2
                                                       House Shingles Found                               House Shingles Found
   Sample Description
                                                            bv House                                       Down Below House
   Sample Treatment                                          Teased/Crushed                                     Teased/Crushed
   Homogeneous                                                            No                                                No
   Layered                                                               Yes                                                Yes
   Fibrous                                                               Yes                                                Yes
   Sample Color                                                     Gray/Tan                                          Gray/Tan
   Asbestos Present                                                      Yes                                                Yes
   Asbestos Type and                                 Chrysotile 15-20%                                  Cluysotile 15-20%
   Percentage
   l. Chrysotilc
   2. Amosite
   3. Crocidolite
   4. Other
  Total% Asbestos                                                    15-20%                                             15-20%
   Other Fibrous Material
   ln Sample
                                                     Other 80-85%                                       Odier 80-85%
  Non-Fibrous Material:
                                                     Paint not anal:v-.tcd.                             Paint not anal:v-.tcd.
Date Analyzed; Fcbmnry 27, 2018                                                                                                                            Analyzed By: Heidi L. McC11rtl1y


Mountain Lahorntodes, Mountain J..abonitorfog NW~ Jue. limits warranty to pro11er anal;'aiJ method, (lnly nnd 1a~tfl no TUS]lOTJ..sibility tbr 1::u-n11tc procurnnumt. Mountain Lnboratorie:1, Mountain
Lllbom101ics NW, Inc., 9922 ll. Montgomery Suii. #13, Spoknno Washington 99206 (SO!l) 922·1365 • l'nx (50!}) 922-1380. PU! 1,~, l,e1,n known                 to"''"'   ml,csro, inn ,mnJI 11croc,11ngo of
samples. TI11ts 1wgativo or <l % PL.M fl.'$ulL~ tthonld be lC$ted with cither S€M or TBM, Cu.~tomer i; te9))0nsiblo for san1ple sepamtiotL This report may only he n:-produced in (hll with written
uppro,nl by Mountain l,.aborotorie3. Soil/Dust rmmpfo11 are not oov«c.-1 under NVl.AP Accuxlitation,

Smn11to results must not be u.sed by tho customer to claim J'lroihtd certiucation. approval1 or cndon-tmcmt by NVLAl\ NISTi or nny agcn<:y of the I-'cdcrnl Oovemmcnt.




                                                                                  Page 2 of3
                                      Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 49 of 57




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                      EXHIBIT "I"
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                                                                               Second Judicial District, Clearwater County
                                                                               Carrie Bird, Clerk of the Court
                                                                               By: Christy Gering, Deputy Clerk




Gregory M. George, lSB #9937                           P. Thomas Clark, ISB #1329
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Telephone: 208-664-4700                                Lewiston, JD 83501-0285
greg@macombcrlaw.com                                   Tel.ephone: 208-743-9516
Attorneys for Plaintiffs                               Facsimile: 208-746-9160
Jack and Marie Christiansen                            tclark@clarkandfeeney.com


        IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT OF
       THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CLEARWATER


 JACK CHRISTIANSEN and MARIE                     Case No.: CV 18-1 9-0246
 CHRJSTrANSEN, husband and wife,
                                                 ACKNOWLEDGMENT OF SERVICE
                Plaintiffs,

                       V.


 THANE SYVERSON and REBEKAH
 SYVERSON, husband and wife, and DOES
 1-10,

                Defendants.


       The undersigned counsel for Defendants THANE SYVERSON and REBEKAH
SYVERSON, husband and wife, hereby acknowledges, on behalf or said Defendants, that on
September 5, 2019 they received service of the Summons and Complaint for said Defendants
pursuant to prior agreement with Plaintiff's counsel permitting service of the same, via electronic
mail to the undersigned. This Acknowledgment of Service is made subject to a reservation or any
defenses that may be available under 1.R.C.P. 12(6).


Ill/II/




ACKNOWLEDGMENT OF SERVICE
      Case 2:19-cv-00365-CWD Document 1 Filed 09/23/19 Page 54 of 57




Dated this 5th day of September, 2019.


RAMSDEN, MARFICE, EALY & HARRIS, LLP


By: ls/Michael A. Ealy
   Michael A. Ealy
   Attorney for Defendants




ACKNOWLEDGMENT OF SERVICE                                              2
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9/23/2019            Case 2:19-cv-00365-CWD Document 1Details
                                                        Filed 09/23/19 Page 56 of 57




        Case Information

        CV18-19-0246 I Jack Christiansen, Marie Christiansen Plaintiff, vs. Thane Syverson, Rebekah Syverson Defendant.

        Case Number                                 Court                                    Judicial Officer
        CV18-19-0246                                Clearwater County District Court         FitzMaurice, Gregory
        File Date                                   Case Type                                Case Status
        08/28/2019                                  AA- All Initial District Court Filings   Active - Pending
                                                    (Not E, F, and H1)




        Party

        Plaintiff                                                                            Active Attorneys,..
        Christiansen, Jack                                                                   Lead Attorney
                                                                                             George, Gregory Michael
                                                                                             Retained




        Plaintiff                                                                            Active Attorneys ....
        Christiansen, Marie                                                                  Lead Attorney
                                                                                             George, Gregory Michael
                                                                                             Retained




        Defendant
        Syverson, Thane




        Defendant
        Syverson, Rebekah




        Events and Hearings

https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=O                                                           1/2
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                                                           Filed 09/23/19 Page 57 of 57


             08/28/2019 Initiating Document - District


             08/28/2019 Complaint Filed ....


               Comment
               and Demand for Jury Trial


             08/28/2019 Summons Issued. ..,.


               Comment
               Summons (Thane Syverson)


             08/28/2019 Summons Issued ....


               Comment
               Summons (Rebekah Syverson)


             08/28/2019 Civil Case Information Sheet


             09/05/2019 Acceptance of Service ....


               Comment
               Acknowledgment of Service




        Financial

        Christiansen, Jack
                Total Financial Assessment                                                                $221.00
                Total Payments and Credits                                                                $221.00


            8/28/2019        Transaction Assessment                                                      $221.00

            8/28/2019        EFile Payment               Receipt# 01937-2019-R18   Christiansen, Jack   ($221.00)




https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=O                                                     2/2
